        Case 2:20-cv-01621-GJP Document 24 Filed 09/25/20 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DONNA R. HUDNELL,

                      Plaintiff,
                                                        CIVIL ACTION
                                                        NO. 20-01621
            v.


 THOMAS JEFFERSON UNIVERSITY
 HOSPITALS, INC.,
                  Defendant.


                                        ORDER

      AND NOW, this 25th day of September 2020, upon consideration of Defendant s

Motion to Dismiss, (ECF No. 18), P ai   iff Response, (ECF No. 19), a d Defe da

Reply, (ECF No. 21), it is hereby ORDERED that Defendant Motion is GRANTED

IN PART and DENIED IN PART. Specifically:

   1. The Court DISMISSES without prejudice Counts I, II, III, IV and VIII;

   2. The Court DISMISSES with prejudice Count X;

   3. The Court DENIES Defendant Motion to Dismiss Count V;

   4. Plaintiff may file a Third Amended Complaint, consistent with this Order and

      the attached Memorandum on or before Friday, November 6, 2020.




                                                 BY THE COURT:


                                                  /s/ Gerald J. Pappert
                                                 _______________________
                                                 GERALD J. PAPPERT, J.




                                           1
